                      EXHIBIT A

                To
       Notice of Removal -
Service of State Court Documents




Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 1 of 31
   aY2;6P.°,"y

                   IN THE 16TH JUDICIAL, CIRCUIT COURT, JACKSON COUNTY, MISSOURI
  Am



 Judge or Division:                                                       Case Number: 2316-CV16402
 CORY LEE ATKINS
 Plaintiff/Petitioner:                                                    Plaintiff's/Petitioner's Attorney/Address
 ELIZABETH MARTIN                                                         LEWIS MICHAEL GALLOWAY
                                                                          LG LAW LLC
                                                                          1600 GENESSEE ST
                                                                          STE 918
                                                                    vs.   KANSAS CITY, MO 64102
 Defendant/Respondent:                                                    Court Address:
 UNION HOME MORTGAGE CORP.                                                308 W Kansas
 Nature of Suit:                                                          INDEPENDENCE, MO 64050
 CC Emnlovmnt Disci-mntn 213.111                                                                                                                File
                                                                    Summons in Civil Case
        The State of Missouri to: _ IZNION HOME MORTGAGE CORP.
                                    Alias:
  SRV: CSC LAWYERSINC SVC CO
  221 BOLIVAR ST
  JEFFERSON CITY, MO 65101
                                                                                  PRIVATE PROCESS SER!!ER
             COURTSEAL OF                          You are summoned to appear before this court and to file your pleading to the petition, a copy of
               O,V,)RT pF                    which is attached, and to serve a copy of your pleading upon the attorney for plaintiff/petitioner at the
                                             above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                     ~ ::.    p              file your pleading~ judgment by default may be taken against you for the relief demanded in the petition.
             ~_    E = ~•~                                                                                              o   ~
                             ~                            21-JUN-2023
                                                              Date                                                     Clerk
            JACIG40N COUNTY                  Further Information:

                                                                          Sheriffs or Server's Return
        Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
        I certify that I have served the above Summons by: (check one)
        ❑ delivering a copy of the sutnmons and petition to the defendant/respondent.
        ❑ leaving a copy of the summons and petition at the dwelling place or usual abode of the defendant/respondent with
                                                                    a person at least 18 years of age residing therein.
        ❑ (for service on a corporation) delivering a copy of the summons and petition to
                                                                                           (name)
        ❑    other

       Served at                                                                                                                                 (address)
       in                                              (County/City of St. Louis), MO, on                              (date) at                       (time).

                           Printed Name of Sheriff or Server                                                Signature of Sheriff or Server
                  (Seal)                  Must be sworn before a notary public if not served by an authorized officer:
                                          Subscribed and sworn to before me on                                                  (date).

                                          My commission expires:
                                                                                    Date                                        Notary Public


        Sheriff's Fees
        Summons                  $
        Non Est                  $
        Sherifl's Deputy Salary
        Supplemental Surcharge   $       10.00
        Mileage                  $                      ~_     miles @ $.        per mile)
        Total                    $
        A copy of the summons and petition must be served on each defendant/respondent. For methods of service on all classes of suits, see
        Supreme Court Rule 54.
OSCA (11/2021) SM30 (JAKSMCC) For Court Use Only.• Document Id # 23-SMCC-6894 1 of 1Civi1 Procedure Form No. 1, Rules 54.01 — 54.05,
                       Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23                                   Page
                                                                                                    54.13, and 54.20; 2 of 31
                                                                                                                      506.120 — 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16tn Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court's website for instructions on how to assemble the service packets at:

16thcircuit.org --> Electronic Filing Information --> Required Documents for Service — eFiled cases ~
Summons/Garnishment Service Packet Information.

Please review this inforination periodically, as revisions are frequently made. Thank you.



                                                     Circuit Court of Jackson County




            Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 3 of 31
                                                                                                   6/2020
                   IN THE 16TH JUI)ICIAL CIRCUIT COURT, JACKSON COUNT~', MISSOURI
a

    Judge or Division:                                                     Case Number: 2316-CV16402
    CORY LEE ATKINS
    Plaintiff/Petitioner:                                                  Plaintiff s/Petitioner's Attorney/Address
    ELIZABETH MARTIN                                                       LEWIS MICHAEL GALLOWAY
                                                                           LG LAW LLC
                                                                           1600 GENESSEE ST
                                                                           STE 918
                                                                     vs.   KANSAS CITY, MO 64102
    Defendant/Respondent:                                                  Court Address:
    UNION HOME MORTGAGE CORP.                                              308 W Kansas
    Nature of Suit:                                                        INDEPENDENCE, MO 64050
    CC Emplovinrlt Discrmntn 213.111                                                                                                               File
                                                                     Summons in Civil Case
        The State of Missouri to: UNION HOME MORTGAGE CORP.
                                  Alias:
    SRV: CSC LAWYERS INC SVC CO
    221 BOLIVAR ST
    JEFFERSON CITY, MO 65101
                                                                                  PRIVATE PROCESS SERVER
            COURTSEAL OF                           You are summoned to appear before this court and to file your pleading to the petition, a copy of
                   VRT p~                      which is attached, and to serve a copy of your pleading upon the attorney for plaintiff/petitioner at the
               GO
                                               above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
             J ~ 3'             N
                                o              file Your P leadin g~]udgment bY default maY be taken a gainst Y ou for the relief
                                                                                                                              ~   demanded in the P etition.
                                Q                                                                                         p
                                                            21-JiJN-2023                                                      If
                         ~                                      Date                                                     Clerk
            JACKSONCOUNTY                      FurtherInformation:

                                                               Sheriffs or Server's Return
        Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
        I certify that I have served the above Summons by: (check one)
        ❑ delivering a copy of the summons and petition to the defendant/respondent.
        ❑    leaving a copy of the summons and petition at the dwelling place or usual abode of the defendant/respondent with
                                                                      a person at least 18 years of age residing therein.
        ❑    (for service on a corporation) delivering a copy of the suminons and petition to
                                                                                            (name)
        ❑    other
       Served at                                                                                                                                     (address)
       in                                                (County/City of St. Louis), MO, on                              (date) at                         (time).

                             Printed Name of Sheriff or Server                                                Signature of Sheriff or Server
                (Seal)                      Must be sworn before a notary public if not served by an authorized ofticer:
                                            Subscribed and sworn to before me on                                                   (date).
                                            My commission expires:
                                                                                     Date                                          Notary Public


        Sheriffs Fees
        Summons                  $
        Non Est                  $
        Sheriff's Deputy Salary
        Supplemental Surcharge   $       10.00
        Mileage                  $                             miles @ $.        per mile)
        Total                    $
        A copy of the summons and petition must be served on each defendant/respondent. For methods of service on all classes of suits, see
        Su reme Court Rule 54.
OSCA (11/2021) SM30 (JAKSMCC) For Court Use Only: Document Id # 23-SMCC-6894 I of 1 Civil Procedure Form No. 1, Rules 54.01 — 54.05,
                       Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23                                   Page 4 of 31
                                                                                                    54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
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Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
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                                                     Circuit Court of Jackson County




            Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 5 of 31
                                                                                                   6/2020
                                                                              2316-CV16402

                IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                 AT KANSAS CITY

ELIZABETH MARTIN,

                    Plaintiff,

V.

UNION HOME MORTGAGE CORP.,                                  Case No.
                                                            Division
Attorney to Serve:
CSC — Lawyers Incorporating Service Co.
221 Bolivar St
Jefferson City, Missouri 65101

                    Defendant.

                                           PETITION

       COMES NOW Plaintiff Elizabeth Martin ("Martin" or "Plaintiffl') and states and alleges

as follows for her Petition against Defendant Union Home Mortgage Corp. ("UHM" or "the

Company" or "Defendant")

                                   NATURE OF THE CASE

       1.        This action is brought to remedy discrimination on the basis of sex and/or

pregnancy in the terms, conditions, and privileges of employment, all in violation of the Missouri

Human Rights Act, Mo. Rev. Stat. § 213 .010, et seq., ("MHRA") and Title VII of the Civil Rights

Act of 1964, 42 U.S.C. § 2000e, et seq. as amended by the Pregnancy Discrimination Act of 1978

("Title VII")

       2.        The claims hereinafter alleged seek declaratory and injunctive relief and

compensatory and punitive damages for Defendant's intentional discrimination on the basis of sex

and/or pregnancy under the MHRA and Title VII.




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                                JURISDICTION AND VENUE

       3.      Defendant's unlawful employment practices complained of herein occurred in

Jackson County, Missouri, and accordingly, jurisdiction and venue are proper in this Court.

       4.      On or about August 2, 2022, Plaintiff filed her Charge of Discrimination detailing

the allegations included herein with the Equal Employment Opportunity Commission ("EEOC"),

which was thereafter dually filed with the Missouri Commission on Human Rights ("MCHR"). A

copy of Plaintiff's Charge of Discrimination is attached hereto as Exhibit A.

       5.      Plaintiff received her Notice of Right to Sue from the EEOC on or about March 22,

2023, and requested her Notice of Right to Sue from the MCHR on May 8, 2023. Plaintiff has

fully complied with all jurisdictional prerequisites to jurisdiction of this Court under the EEOC
                                            I



and will do so MHRA upon receipt of her Notice of Right to Sue. A copy of Plaintiff's EEOC

Notice of Right to Sue is attached hereto as Exhibit B.

                                                PARTIES

       6.      Plaintiff is and at all times relevant to the allegations in this Petition has been a

female resident and citizen of the State of Missouri.

       7.      Defendant is a business entity incorporated under the laws of the State of Ohio, and

at all relevant times it was authorized to conduct business in the State of Missouri. Defendant is

an "employer" within the meaning of the MHRA and Title VII.

       8.      All of the acts, conduct, and omissions of Defendant were performed by its agents,

representatives, and employees acting while in the course and scope of their employment.




                                                   2
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                                             FACTS

       9.      Plaintiff is female.

       10.     Plaintiff was employed as Loan Officer with Defendant from March 1, 2021, until

the termination of her employment on August 11, 2022.

       11.     Plaintiff's record of employment with UHM was exemplary. At no time did she

receive feedback from those to whom she reported that her performance was deficient in any way.

Plaintiff was not coached or placed on a performance improvement plan of any type, for any

reason. Plaintiff received high praise in each of her performance reviews 6 months and 12 months

after my employment with UHM began. At the time of the termination of her employment,

Plaintiff was less than one month away from her scheduled NMLS SAFE Act exam for the purpose

of her promotion to Licensed Loan Officer.

       12.     Plaintiff has a history with pregnancy loss, and for that reason she informed the

Licensed Loan Originator with whom she worked closely, Robert Hastings, of her pregnancy in

January 2022. At the beginning of February, Plaintiff informed Area Sales Manager Josh Carr of

her pregnancy during a meeting at which they discussed a raise as part of her annual review. In

June Plaintiff informed UHM human resources representatives of her pregnancy and'did not

immediately receive confirmation from them that she expected to be away from work for the birth

and care of her child. Accordingly, Plaintiff informed Human Reso.urces Manager Mary Udivich

and LOA Team Lead Chantel Pittman of her pregnancy shortly thereafter. Plaintiff was instructed

to contact human resources representatives 45 days prior to her expected date of delivery.

        13.    In June 2022, Plaintiff learned that Robert Hastings was considering a departure

from UHM. In the following weeks Plaintiff prepared for her absence from work for the birth of

•and care for her child scheduled for on or about August 10.



                                                  3
         Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 8 of 31
       14.     In July Plaintiff contacted human resources representatives because she was

informed by her physician, Dr. Julie Johnson, that her child may arrive early. They provided her

with documentation related to her expected absence on July 12 with instructions to return

completed forms on or before July 22. Plaintiff returned coinpleted documentation related to her

expected absence on July 21. Plaintiff's induction was then scheduled for August 17.

       15.     On Friday, August 5, Plaintiff informed humarl resources representatives of her

scheduled induction. Because she received no response, Plaintiff contacted human resources

representatives again on August 8 and August 10, again with no response. On August 5 Plaintiff

also spoke with Josh Carr about Mr. Hastings's potential departure and her concern about the

handling of the loans assigned to her in her absence for maternity leave. Plaintiff explained to Mr.

Carr that she wanted to be certain that the clients for whom she was working would be serviced

appropriately in her absence. In response, Mr. Carr assured her that regardless of whether Mr.

Hastings remained with UHM, he would be able to place her in a position with UHM at one of the

offices in Lee's Summit, Missouri.

       16.     On Monday, August 8, Robert Hastings informed Plaintiff that he was leaving

UHM and that he would be joined by Loan Officer Assistant Kelly Haislip at UMB.

       17.     On Wednesday, August 10, Plaintiff attended a regularly scheduled appointment

with Dr. Johnson. Her pregnancy was high risk, and her physician determined that she would need

to be placed on bed rest immediately and reinain on bed rest until the scheduled induction on

August 17.

       18.     Plaintiff spoke with Josh Carr at 9 a.m. on August 11 and explained that she had

been instructed by her physician to remain on bed rest. Plaintiff informed Human Resources

Generalist Jessica Anlcuda of her physician's instructions on August 11 at approximately 9:30 a.m.



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Dr. Johnson sent notice of his instructions to remain on bed rest via fax at the same time. Plaintiff

sent a copy of his insti-uctions to Mr. Carr by email the same morning.

       19.     Before Plaintiff informed Jessica Ankuda of her expected period of bed rest in

advance of the birth of her child, Plaintiff received a phone call from Josh Carr at approximately

9 a.m. He said "I don't know what is going on. Give me uiitil the afternoon to figure it all out and

I will call you back." At 11 am on August 11, Plaintiff received a call from Ms. Ankuda and Loan

Officer Susan Stevenson. Ms. Stevenson explained that Mr. Hastings was no longer with UHM

and that there "are no open positions within the company." Plaintiff was stunned to learn that she

was being terminated and told them that it was difficult to process their decision. Plaintiff told

Ms. Anlcuda and Ms. Stevenson that she had been placed on bed rest the day before during her

regularly scheduled appointment with her physician, that notice had been sent to UHM of these

instructions by fax and einail, and that she was scheduled to be induced on August 17. Plaintiff

again told them that she could not believe what they were telling her. Plaintiff explained that Mr.

Carr had expressed confidence that she would continue my employment with UHM.

       20.     Susan Stevenson apologized and; repeated her claim that there "are no open

positions within the company." She then asked Plaintiff whether she knew if Mr. Hastings

intended to talce anyone with him, and Plaintiff said that she believed he was taking one person.

Ms. Stevenson apologized for the "timing of this" and offered to write a letter of recommendation

on Plaintiff's behalf. Jessica Ankuda then explained that Plaintiff s benefits would terminate at

the end of the month and that thereafter she would have 60 days to elect to obtain COBRA

coverage. They both then apologized again, and Ms. Stevenson instructed Plaintiff to reach out to

her if she had questions.




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        Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 10 of 31
          21.   After the termination of her employment, Plaintiff learned that a male Loan Officer

Assistant had been retained by UHM following the departure of Licensed Loan Originator Robert

Hastings.

            COUNT I— VIOLATION OF THE 1VIHRA — SEX DISCRIMINATION

          22.   Plaintiff hereby incorporates each preceding paragraph as though fully set forth

herein.

          23.   Plaintiff is female.   She was pregnant at the time of the termination of her

employment, a condition about which Defendant and its agents were aware.

          24.   Plaintiff was employed by Defendant.

          25.   As shown by the foregoing, Plaintiff suffered intentional discrimination at the

hands of Defendant and Defendant's agents during the course of her employment with Defendant,

based on her sex, in violation of the MHRA.

          26.   Defendant failed to make good faith efforts to establish and enforce policies to

prevent unlawful discrimination against its employees.

          27.   Defendant failed to properly train or otherwise inform their supervisors and

employees concerning the duties and obligations under Missouri civil rights laws, including the



          28.   Plaintiff's employment was terminated for reasons that constitute pretext for

unlawful retaliation and/or discrimination on the basis of Plaintiff's sex.

          29.   As a direct and proximate result of Defendant's actions and/or inaction, Plaintiff

has been deprived of income and other monetary and non-monetary benefits.

          30.   As a further direct and proximate result of Defendant's actions and/or inaction,

Plaintiff has suffered humiliation, emotional pain, distress, suffering, inconvenience, mental

anguish, and related compensatory damages.

                                                   6
          Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 11 of 31
          31.     As shown by the foregoing, Defendant engaged in these discriminatory practices

with malice or reckless indifference to the federally protected rights of Plaintiff. Plaintiff is

therefore entitled to an award of punitive damages in an amount sufficient to punish Defendant or

to deter it and other companies from like conduct in the future.

          WHEREFORB, Plaintiff prays for judgment against Defendant on Count I of her

Complaint, for a finding that she has been subjected to unlawful discrimination prohibited by the

MHRA; for an award of back pay, including lost fringe benefits, bonuses, costs of living increases

and other benefits including interest; for an award of front pay in a reasonable amount; for an

award of compensatory and punitive damages; equitable relief including reinstatement to work

environment where Plaintiff is not subjected to discriminatory conduct; for her costs expended;

for her reasonable attorneys' and expert's fees; and for such other and further relief the Court

deems just and proper.

                COUNT II — VIOLATION OF TITLE VII — SEX DISCRIMINATION

          32.     Plaintiff hereby incorporates each preceding paragraph as though fully set forth

herein.

          33.     Plaintiff is female.   She was pregnant at the tirne of the termination of her

employment, a condition about which Defendant and its agents were aware.

          34.     Plaintiff was employed by Defendant.

          35.     As shown by the foregoing, Plaintiff suffered intentional discrimination at the

hands of Defendant and Defendant's agents during the course of her employment with Defendant,

based on her sex, in violation of Title VII as amended by the Pregnancy Discrimination Act.

          36.     Defendant failed to make good faith efforts to establish and enforce policies to

prevent unlawful discrimination against its employees.



                                                   7
          Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 12 of 31
       37.     Defendant failed to properly train or otherwise inform their supervisors and

employees concerning the duties and obligations under federal civil rights laws, including Title



       38.     Plaintiff's employment was terminated for reasons that constitute pretext for

unlawful retaliation and/or discrimination on the basis of Plaintiff's sex.

       39.     As a direct and proximate result of Defendant's actions and/or inaction, Plaintiff

has been deprived of income and other monetary and non-monetary benefits.

       40.     As a further direct and proximate result of Defendant's actions and/or inaction,

Plaintiff has suffered humiliation, emotional pain, distress, suffering, inconvenience, mental

anguish, and related compensatory damages.

       41.     As shown by the foregoing, Defendant engaged in these discriminatory practices

with malice or reckless indifference to the federally protected rights of Plaintiff. Plaintiff is

therefore entitled to an award of punitive damages in an amount sufficient to punish Defendant or

to deter it and other companies from like conduct in the future.

       WHEREFORE, Plaintiff prays for judgment against Defendant on Count I of her

Complaint, for a finding that she has been subjected to unlawful discrimination prohibited by Title

VII; for an award of back pay, including lost fringe benefits, bonuses, costs of living increases and

other benefits including interest; for an award of front pay in a reasonable amount; for an award

of compensatory and punitive damages; equitable relief including reinstatement to work

environment where Plaintiff is not subjected to discriminatory conduct; for her costs expended;

for her reasonable attorneys' and expert's fees; and for such other and further relief the Court

deems just and proper.




                                                   3
        Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 13 of 31
                                  DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury trial on all causes of action and claims with respect to

which she has a right to trial by jury.



                                          Respectfully submitted,




                                          /s/ Lewis M. Galloway
                                          Lewis Galloway            MO Bar No. 52417
                                          1600 Genessee St Ste 918
                                          Kansas City, MO 64102
                                          Phone: (816) 442-7002
                                          Fax: (816) 326-0820
                                          lewis(cr~,lglawllc. com

                                          ATTORNEY FOR PLAINTIFF




                                                    E
        Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 14 of 31
                                                                                                      2316®CV16402
                                                                                   Received in EEOC on 9/1/2022
                                                                              Charge Presented to:        Agency(Pes) Charge No(s):

                 EEOC Charge of Discrimination                                _     FEPA
                                                                                                 563-2022-03222
                                                                                  X EEOC
                                                     State or local Agency, if any
                                            Missouri Commission on Human Rights
Name (indicate Mr. Ms. Mrs.)                                                 Home Phone (Incl. Area Code)             Date of Birth
Elizabeth Martin                                                                   (816) 284-1482
Street Address                                          City, State and ZIP Code
13520 S Harris Rd                                       Greenwood, MO 64034
Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That I believe Discriminated A ainst Me or Others. !f more than fwo, list under PARTICULARS below.
Name                                                              No. Employees, Members       Phone No. (Include Area Code)
Union Home Mortgage Corp.                                                   More than 500                     (877) 846-4968
Street Address                                          City, State and ZIP Code
8241 Dow Cir                                            Strongsville, OH 44136
Name                                                                 No. Employees, Members           Phone No. (Include Area Code)


Street Address                                          City, State and ZIP Code


DISCRIMINATION BASED ON (Check appropriate box(es).)                                       DATE(S) DISCRIMINATION TOOK PLACE
                                                                                           Earliest          Latest
 _ RACE _ COLOR X SEX _ RELIGION _ NATIONAL ORIGIN                                         8/5/2022                 8/11/2022
 _    RETALIATION _ AGE _               DISABILITY _      OTHER (Specify below.)           X CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attached extra sheet(s)):

Please see summary included as Exhibit A.




I want this charge filed with both the EEOC and the State or local Agency,
if any. I will advise the agencies if I change my address or phone number
and I will cooperate fully with them in the processing of my charge in
accordance with their procedures.


I declare under penalty of perjury that the above is true and
correct.
                            ~~                        ~._... .
     ~al ~
  Date                     Cdufrging Party Signature




                 Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 15 of 31
             Exhibit A to Elizabeth Martin Charge of Discrimination

1.   I charge Union Home Mortgage and their agents (hereinafter collectively "UHM")
     with unlawful discrimination on the basis of my sex and/or pregnancy in violation
     of the Missouri Human Rights Act ("MHRA") and Title VII of the Civil Rights Act of
     1964 ("Title VII") as amended by the Pregnancy Discrimination Act of 1978.

2.   1 was employed by UHM as a Loan Officer Assistant from March 1, 2021, until the
     unlawful termination of my employment on August 11, 2022.

3.   My record of employment with UHM was exemplary. At no time did I receive
     feedback from those to whom I reported that my performance was deficient in any
     way. I was not coached or placed on a performance improvement plan of any
     type, for any reason. I received high praise in each of my performance reviews 6
     months and 12 months after my employment with UHM began. At the time of the
     termination of my employment, I was less than one month away from my
     scheduled NMLS SAFE Act exam for the purpose of my promotion to Licensed
     Loan Officer.

4.   1 have a history with pregnancy loss, and for that reason I informed the Licensed
     Loan Originator with whom I worked closely, Robert Hastings, of my pregnancy in
     January 2022. At the beginning of February, I informed Area Sales Manager Josh
     Carr of my pregnancy during a meeting at which we discussed a raise as part of
     my annual review. In June I informed UHM human resources representatives of
     my pregnancy and did not immediately receive confirmation from them that I
     expected to be away from work for the birth and care of my child. Accordingly, I
     informed Human Resources Manager Mary Udivich and LOA Team Lead Chantel
     Pittman of my pregnancy shortly thereafter. I was instructed to contact human
     resources representatives 45 days prior to my expected date of delivery.

5.   In June 2022, 1 learned that Robert Hastings was considering a departure from
     UHM. In the following weeks I prepared for my absence from work for the birth of
     and care for my child scheduled for on or about August 10.

6.   In July I contacted human resources representatives because I was informed by
     my physician, Dr. Julie Johnson, that my child may arrive early. They provided me
     with documentation related to my expected absence on July 12 with instructions
     to return completed forms on or before July 22. 1 returned completed
     documentation related to my expected absence on July 21. My induction was then
     scheduled for August 17.

7.   On Friday, August 5, 1 informed human resources representatives of the scheduled
     induction. Because I received no response, I contacted human resources
     representatives again on August 8 and August 10, again with no response. On

                                                                                     1
     Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 16 of 31
      August 5 1 also spoke with Josh Carr about Mr. Hastings's potential departure and
      my concern about the handling of the loans assigned to me in my absence for
      maternity leave. I explained to Mr. Carr that I wanted to be certain that the clients
      for whom I was working would be serviced appropriately in my absence. In
      response, Mr. Carr assured me that regardless of whether Mr. Hastings remained
      with UHM, he would be able to place me in a position with UHM at one of the
      offices in Lee's Summit, Missouri.

8.    On Monday, August 8, Robert Hastings informed me that he was leaving UHM and
      that he would be joined by Loan Officer Assistant Kelly Haislip at UMB.

9.    On Wednesday, August 10, 1 attended a regularly scheduled appointment with Dr.
      Johnson. My pregnancy is high risk, and my physician determined that I would
      need to be placed on bed rest immediately and remain on bed rest until the
      scheduled induction on August 17.

10.   1 spoke with Josh Carr at 9 a.m. on August 11 that I had been instructed by my
      phisican to remain on bed rest. I informed Human Resources Generalist Jessica
      Ankuda of my physician's instructions on August 11 at approximately 9:30 a.m.
      Dr. Johnson sent notice of my instructions to remain on bed rest via fax at the
      same time. I sent a copy of her instructions to Mr. Carr by email the same morning.

11.   Before I informed Jessica Ankuda of my expected period of bed rest in advance of
      the birth of my child, I received a phone call from Josh Carr at approximately 9
      a.m. He said "I don't know what is going on. Give me until the afternoon to figure
      it all out and I will call you back." At 11 am on August 11, 1 received a call from
      Ms. Ankuda and Loan Officer Susan Stevenson. She explained that Mr. Hastings
      was no longer with UHM and that there "are no open positions within the company."
      I was stunned to learn that I was being terminated and told them that it was difficult
      to process their decision. I told Ms. Ankuda and Ms. Stevenson that I had been
      placed on bed rest the day before during my regularly scheduled appointment with
      my physician, that notice had been sent to UHM of these instructions by fax and
      email, and that I was scheduled to be induced on August 17. 1 again told them that
      I could not believe what they were telling me. I explained that Mr. Carr had
      expressed confidence that I would continue my employment with UHM.

12.   Susan Stevenson apologized and repeated her claim that there "are no open
      positions within the company." She then asked me whether I knew if Mr. Hastings
      intended to take anyone with him, and I said that I believed he was taking one
      person. Ms. Stevenson apologized for the "timing of this" and offered to write a
      letter of recommendation on my behalf. Jessica Ankuda then explained that my
      benefits would terminate at the end of the month and that thereafter I would have
      60 days to elect to obtain COBRA coverage. They both then apologized again,
      and Ms. Stevenson instructed me to reach out to her if I had questions.

                                                                                          2

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13. 1   After the termination of my employment, I have learned that a male Loan Officer
        Assistant has been retained by UHM following the departure of Licensed Loan
        Originator Robert Hastings.

14.     The actions of UHM and its agents constitute discrimination against me on the
        basis of my sex and/or pregnancy. The termination of my employment the day
        after I was placed on bedrest by my physician and less than one week in advance
        of my expected absence from work for the birth of and care for my child constitutes
        circumstantial evidence that my sex and/or pregnancy is the basis for UHM's
        decision to terminate my employment.

15.     UHM has engaged in a pattern or practice of discrimination against me and other
        female UHM employees on the basis of our sex.

16.     UHM terminated my employment because of my sex and/or pregnancy. Because
        of this discrimination by UHM and its agents, I have suffered economic damages
        and from emotional distress.

17.     That rationale provided by UHM and its agents for the termination of my
        employment constitutes pretext for discrimination against me on the basis of my
        sex and/or pregnancy. The absence of any rationale from UHM and its agents for
        the termination of my employment similarly constitutes pretext for discrimination
        against me on the basis of my sex and/or pregnancy

18.     1 seek compensatory damages, liquidated damages, punitive damages, equitable
        relief in the form of front pay, my costs, and my reasonable attorney's fees.




                                                                                         3
        Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 18 of 31
                                                                                        2316-CV16402
    .'~ •        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                          Kansas City Area Office
                                                                                           400 State Ave, Suite 905
             .                                                                              Kansas City, KS 66101
•                                                                                                  (913)340-8810
         .                                                                                 Website: www.eeoc.eov


                             DISMISSAL AND NOTICE OF RIGHTS
                             (This Notice replaces EEOC FORMS 161 & 161-A)

                                             Issued On: 03/22/2023
      To: Elizabeth Martin
          13520 S. Harris Rd
          Greenwood, MO 64034

      Charge No: 563-2022-03222
      EEOC Representative and email        Natascha DeGuire
                                           Area Director
                                           natascha.deguire@eeoc.gov


                                          DISMISSAL OF CHARGE

      The EEOC has granted your request for a Notice of Right to Sue, and more than 180 days have
      passed since the filing of this charge.
      The EEOC is terminating its processing of this charge.

                                    NOTICE OF YOUR RIGHT TO SUE

      This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
      you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
      or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
      Receipt generally occurs on the date that you (or your representative) view this document. You
      should keep a record of the date you received this notice. Your right to sue based on this charge
      will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
      based on a claim under state law may be different.)
      If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
      court complaint to charge 563-2022-03222.

                                                     On behalf of the Commission,

                                                     Digitally Signed By: David Davis
                                                     03/22/2023
                                                     David Davis
                                                     Acting District Director




                 Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 19 of 31
CC:
Cody Nett
Union Home Mortgage
8241 Dow Cir
Strongsville, OH 44136

Lewis Galloway
LG Law
1600 Genessee St, Ste 918
Kansas City, MO 64102


Please retain this notice for your records.




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Enclosure with EEOC Notice of Closure and Rights (01/22)




                        INFORMATION RELATED TO FILING SUIT
                     UNDER THE LAWS ENFORCED BY THE EEOC
 (This information Yelates to filing suit in Federal or State court undeY Federal law. Ifyou also
plan to sue claiming violations of State law, please be aware that time limits may be shoYter and
           otheY provisions of State law may be diffeYent than those described below)

IMPORTANT TIME LIMITS — 90 DAYS TO FILE A LAWSUIT
If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
you rnust file a complaint in court within 90 days of the date you Neceive this Notice. Receipt
generally means the date when you (or your representative) opened this email or mail. You should
keep a record of the date you received this notice. Once this 90-day period has passed, your
right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
your receiving it (email or envelope).
If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint
in court within 2 years (3 years for willful violations) of the date you did not receive equal pay.
This time limit for filing an EPA lawsuit is separate from the 90-day filing period under Title
VII, the ADA, GINA or the ADEA referred to above. Therefore, if you also plan to sue under
Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA claim, your lawsuit
must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after tallcing to your
attorney. You must file a"complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Filing this Notice is iiot enough. For more information
about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.
ATTORNEY REPRESENTATION
For information about locating an attorney to represent you, go to:
https://www.eeoc. gov/employees/lawsuit.cfm.
In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
who demonstrate that they are fmancially unable to afford an attorney.

HOW TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS
There are two ways to request a charge file: 1) a FOIA Request or 2) a Section 83 request. You may
request your charge file under either or both procedures. EEOC can generally respond to Section 83
requests more promptly than FOIA requests.
Since a lawsuit must be filed within 90 days of this notice, please subinit your request for the charge
file promptly to allow sufficient time for EEOC to respond and for your review. Submit a signed
written request stating it is a"FOIA Request" or a"Section 83 Request" for Charge Number 563-
2022-03222 to the District Director at David Davis, 1222 Spruce St Rm 8 100
St Louis, MO 63103.
You can also make a FOIA request online at https://eeoc.arkcase.coin/foia/portal/login.




           Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 21 of 31
Enclosure with EEOC Notice of Closure and Rights (01/22)




You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After the
90 days have passed, you may request the charge file only if you have filed a lawsuit in court and
provide a copy of the court complaint to EEOC.
For more information on submitting FOIA Requests and Section 83 Requests, go to:
htt2s://www.ecoc.gov/eeoc/foia/index.cfin.




           Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 22 of 31
               IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                AT INDEPENDENCE

ELIZABETH MARTIN,

                        PLAINTIFF(S),                                    CASE NO. 2316-CV16402
VS.                                                                      DIVISION 17

UNION HOME MORTGAGE CORP.,

                        DEFENDANT(S).

         NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
                        AND ORDER FOR MEDIATION


          NOTICE IS HEREBY GIVEN that a Case Management Conference will be held with the
Honorable CORY LEE ATKINS on 10-OCT-2023 in DIVISION 17 at 09:00 AM. All
Applications for Continuance of a Case Management Conference should be filed on or before
Wednesday of the week prior to the case management setting. Applications for Continuance of a
Case Management Conference shall comply with Supreme Court Rule and 16ffi Cir. R. 34.1.
Continuance of a Case Management Conference will only be granted for good cause shown because
it is the desire of the Court to meet with counsel and parties in all cases within the first 4 months that
a case has been on file. All counsel and parties are directed to check Case.NET on the 16th Judicial
Circuit web site at www.l6thcircuit.ora after filing an application for continuance to determine
whether or not it has been granted.

        A lead attorney of record must be designated for each party as required by Local Rule 3.5.1.
 A separate pleading designating the lead attorney of record shall be filed by each party as described
in Local Rule 3.5.2. The parties are advised that if they do not file a separate pleading designating
lead counsel„ even in situations where there is only one attorney representing the party, JIS will not
be updated by civil records department, and copies of orders will be sent to the address currently
shown in JIS: Civil Records does not update attorney information from answers or other pleadings.
The Designation of Lead Attorney pleading shall contain the name of lead counsel, firm name,
mailing address, phone number, FAX number and E-mail address of the attorney who is lead
counsel.
       At the Case Management Conference, counsel should be prepared to address at least the
following:

        a.      A trial setting;
        b.      Expert Witness Disclosure Cutoff Date;
        C.      A schedule for the orderly preparation of the case for trial;
        d.      Any issues which require input or action by the Court;
        e.      The status of settlement negotiations.




2316-CV16402                                   Page 1 of 2                       DMSNCMCIVI(2/2017)
        Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 23 of 31
                                            MEDIATION
        The parties  are ordered to participate in mediation pursuant to Supreme Court Rule 17.
Mediation shall be completed within 10 months after the date the case if filed for complex cases,
and 6 months after the date the case is filed for other circuit cases, unless otherwise ordered by
the Court. Each party shall personally appear at the mediation and participate in the process. In
the event a party does not have the authority to enter into a settlement, then a representative of
the entity that does have actual authority to enter into a settlement on behalf of the party shall
also personally attend the mediations with the party.

       The parties shall confer and select a mutually agreeable person to act as mediator in this
case. If the parties are unable to agree on a mediator the court will appoint a mediator at the
Case Management Conference.

       Each party shall pay their respective pro-rata cost of the mediation directly to the
mediator.

                                  POLICIES/PROCEDURES
       Please refer to the Court's web page www.l6thcircuit.org for division policies and
procedural information listed by each judge.


                                              /S/ CORY LEE ATKINS
                                              CORY LEE ATKINS, Circuit Judge


                                       Certificate of Service

        This is to certify that a copy of the foregoing was electronic noticed, faxed, emailed
and/or mailed or hand delivered to the plaintiff with the delivery of the file-stamped copy of the
petition. It is further certified that a copy of the foregoing will be served with the summons on
each defendant named in this action.

Attorney for Plaintiff(s):
LEWIS MICHAEL GALLOWAY, LG LAW LLC, 1600 GENESSEE ST, STE 918, KANSAS
CITY, MO 64102

Defendant(s):
UNION HOME MORTGAGE CORP.

 Dated: 21-JUN-2023                                             BEVERLY A. NEWMAN
                                                                Court Administrator




2316-CV16402                                 Page 2 of 2                    DMSNCMCIVI (2/2017)
        Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 24 of 31
                                                                             2316-CV16402'

            IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                             AT KANSAS CITY

ELIZABETH MARTIN,

                  Plaintiff,

V.                                                         Case No.
                                                           Division
UNION HOME MORTGAGE CORP.,
                                                           JURY TRIAL DEMANDED

                  Defendant.

           MOTION FOR APPOINTMENT OF PRIVATE PROCESS SERVER

       COMES NOW Plaintiff Elizabeth Martin, by and through his counsel of record, and,

pursuant to Missouri Supreme Court Rules 54.13 and 54.14, hereby moves for the approval and

appointment of HPS Process Service & Investigations, Inc. and their affiliates as private process

servers in the above-captioned matter.




        Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 25 of 31
Zenedria Abston      PPS23-0213
Viklci Acord         PPS23-0214
Donna Arciuolo       PPS23-0004
Tracy Arnold         PPS23-0218
Vanessa Arredondo    PPS23-0220
Tonya Arruda         PPS23-0221
Jodi Ashworth        PPS23-0005
Joseph Baska         PPS23-0008
Allison Bernardo     PPS23-0011
Keith Blanchard      PPS23-0225
Alexander Blea       PPS23-0012
Dianna Blea          PPS23-0013
Richard Blea         PPS23-0226
Kathy Broom          PPS23-0020
Randy Burrow         PPS23-0022
Gary Burt            PPS23-0023
Stephen Buskirk      PPS23-0233
Steven Butcher       PPS23-0234
Danny Callahan       PPS23-0024
Jake Callahan        PPS23-0025
Anna Canole          PPS23-0235
Charles Casey        PPS23-0027
George Castillo      PPS23-0028
Scott Cisney         PPS23-0238
Kathleen Clor        PPS23-0240
Glen Cobb            PPS23-0030
Chad Compton         PPS23-0033
Melody Compton       PPS23-0034
George Covert        PPS23-0035
Peggy Cranston-      PPS23-0037
Butcher
Ernest Dahl          PPS23-0038
Vito Davis           PPS23-0242
Bryce Dearborn       PPS23-0243
Robert DeLacy III    PPS23-0244
Robert DeLacy Jr.    PPS23-0245
Dominic De1laPorte   PPS23-0039
Claudia Dohn         PPS23-0041
Aaron Donarski       PPS23-0044
Amy Donarski         PPS23-0043
Dale Dorning         PPS23-0045



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Alexander Duaine     PPS23-0250
Michael Dunard       PPS23-0046
Donald Eskra Jr.     PPS23-0254
Sadie Estes          PPS23-0255
Cindy Ethridge       PPS23-0256
Robert Fairbanks     PPS23-0257
William Ferrell      PPS23-0258
Ryan Fortune         PPS23-0262
James Frago          PPS23-0054
John Frago           PPS23-0055
Richard Gerber       PPS23-0266
Kurie Ghersini       PPS23-0057
Adam Golden          PPS23-0058
Bradley Gordon       PPS23-0059
Thomas Gorgen        PPS23-0060
Kimberly Greenway    PPS23-0061
Paul Grimes          PPS23-0267
Mark Hagood          PPS23-0063
Eric Hahn            PPS23-0064
Nastassja Hall       PPS23-0268
Darnell Hamilton     PPS23-0066
James Hannah         PPS23-0067
James Ray Harvey     PPS23-0068
Grace Hazell         PPS23-0069
Stephen Heitz        PPS23-0269
Austen Hendrickson   PPS23-0070
Sharon Hendrickson   PPS23-0071
Elizabeth Henson     PPS23-0072
Jessie Hernandez     PPS23-0271
Michael Hibler       PPS23-0073
Shelby Hibler        PPS23-0272
Trinity Hibler       PPS23-0273
James Hise           PPS23-0075
Tony Hitt            PPS23-0274
Aaron Holt           PPS23-0076
Martin Hueckel       PPS23-0078
Michael Huffman      PPS23-0079
Pamela Huffrnan      PPS23-0080
Anthony Iavarone     PPS23-0083
Megan Jagos          PPS23-0084
Frank James          PPS23-0275




      Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 27 of 31
Zachary Jenkins      PPS23-0277
Betty Johnson        PPS23-0085
Brent Kirlchart      PPS23-0089
Janice Kirkhart      PPS23-0090
Tyler Kirkhart       PPS23-0091
Kenneth Klewicki     PPS23-0092
Michele Kriner       PPS23-0280
Kelly Land           PPS23-0095
James LaRiviere      PPS23-0098
Marcus Lawing        PPS23-0099
John Lichtenegger    PPS23-0101
Bryan Liebhart       PPS23-0102
Bert Lott            PPS23-0104
Rex Louar            PPS23-0283
Robert Maliuuk       PPS23-0285
Winnonna Maliuuk     PPS23-0286
Michael Marra        PPS23-0105
Thomas Matthews      PPS23-0288
Shauntranise McGee   PPS23-0291
Michael McMahon      PPS23-0292
Michael C Meador     PPS23-0111
James Meadows        PPS23-0112
Krista Meadows       PPS23-0293
Jerry Melber         PPS23-0113
Jenna 1Vlendoza      PPS23-0114
Matthew Millhollin   PPS23-0117
Carla Monegain       PPS23-0298
Christopher Moore    PPS23-0297
Michael Morrison     PPS23-0299
Zachary Mueller      PPS23-0300
Paul Nardizzi        PPS23-0303
Wendy Neff           PPS23-0304
Jeremy Nicholas      PPS23-0119
Jeffrey Nichols      PPS23-0121
Michael Noble        PPS23-0123
Colter Norris        PPS23-0125
Dennis Norris        PPS23-0126
Kody Norris          PPS23-0127
DarylOestreich       PPS23-0130
Craig Palmer         PPS23-0306
Cynthia Paris        PPS23-0131




      Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 28 of 31
Cody Patton             PPS23-0133
Jose Pena               PPS23-0307
George Perry            PPS23-0134
Timothy Pinney          PPS23-0310
Nancy Porter            PPS23-0311
Kourtney Potter-Acord   PPS23-0140
Benjamin Purser         PPS23-0148
Larry Quintanilla       PPS23-0312
Richard Ramirez         PPS23-0313
James Reap              PPS23-0149
Christopher Reed        PPS23-0150
Cheryl Richey           PPS23-0152
Richard Rober           PPS23-0316
David Roberts           PPS23-0156
Patricia Roberts        PPS23-0157
Anthony Roscoe          PPS23-0317
Richard Ross            PPS23-0318
Steve Rozhon            PPS23-0319
Kathy Rulo              PPS23-0165
Edna Russell            PPS23-0166
Robert Sanders          PPS23-0320
Brenda Schiwitz         PPS23-0167
Nathaniel Scott         PPS23-0321
Joe Sherrod             PPS23-0169
Kenneth Short           PPS23-0326
Anita Skillern          PPS23-0173
Thomas Skinner          PPS23-0174
Brian Smith             PPS23-0175
Bryan Smith             PPS23-0176
Anthony Spada           PPS23-0179
Melissa Spencer-        PPS23-0180
Bryant
Keith Stalcup           PPS23-0181
Barbara Steil           PPS23-0182
Paul Steil              PPS23-0183
Randy Stone             PPS23-0184
Sonja Stone             PPS23-0185
Steven Stosur           PPS23-0328
Cody Swartz             PPS23-0189
Ramona Talvacchio       PPS23-0329
Jeffrey Teitel          PPS23-0191




      Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 29 of 31
 Gabriel Tranum               PPS23-0193
 Blanca Vazquez               PPS23-0337
 Robert Vick II               PPS23-0338
 Bradley Votaw                PPS23-0196
 Joseph Wachowski             PPS23-0339
 Stephen Waters               PPS23-0197
 Barbara West                 PPS23-0343
 Jonathan Wilkerson           PPS23-0205
 Gregory Willing              PPS23-0206
 Conni Wilson                 PPS23-0208


        In support of her motion, Plaintiff states that the above-named individuals are on the

Court's list of approved process servers and the information contained in their applications and

affidavits on file is current and still correct.

                                         Respectfully submitted,

                                         /s/ Lewis M. Galloway
                                         Lewis Galloway     Missouri Bar No. 52417
                                         LG Law LLC
                                         1600 Genessee St Ste 918
                                         Kansas City, MO 64102
                                         Phone: (816) 442-7002
                                         Fax: (816) 326-0820
                                         lewisglglawllc.com

                                         ATTORNEYS FOR PLAINTIFF




        Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 30 of 31
            ORDER FOR APPOINTMENT OF PRIVATE PROCESS SERVER

        It is hereby ordered that Plaintiff's Motion for Appointment of Private Process Server is

sustained and the above named individuals are hereby appointed to serve process in the above

captioned matter.



DATE:
                                                           Judge or Circuit Clerk




                                     7
        Case 4:23-cv-00566-SRB Document 1-1 Filed 08/10/23 Page 31 of 31
